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 1                                                          JUDGE FRANKLIN D. BURGESS
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 6                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
 7                                    AT TACOMA
 8
     UNITED STATES OF AMERICA,                 )      NO. CR06-5528FDB
 9                                             )
                   Plaintiff,                  )
10                                             )      ORDER GRANTING UNOPPOSED
                   vs.                         )      MOTION TO CONTINUE DUE DATE
11                                             )      FOR PRE-TRIAL MOTIONS AND
     ALEX M. BLUM,                             )      TRIAL DATE
12 CHAD W. PALMER,                             )
     TIGRA JA ROBERTSON                        )
13                                             )
                   Defendants.
14

15
            Based on the stipulated motion of Defendants Chad W. Palmer and Alex M. Blum
16
     to continue the trial date, Defendant Tigra Robertsons joinder in motion, and for the
17
     reasons set forth in the affidavit of defense counsel in support of the motion, which are
18
     hereby incorporated by reference and adopted as findings of the Court, the Court makes
19
     the following findings of fact and conclusions of law:
20
            1. The ends of justice served by granting this continuance outweigh the best
21
     interests of the public and the defendants in a speedy trial. 18 U.S.C. § 3161(h)(8)(A).
22
            2. Proceeding to trial absent adequate time for the defense to prepare would
23
     result in a miscarriage of justice. 18 U.S.C. §3161(h)(8)(B)(I).
24
            3. The defense needs additional time to explore issues of some complexity,
25
     including all relevant issues and defenses applicable to the case, which would make it
26
     unreasonable to expect adequate preparation for pretrial proceedings or for trial itself
                                                                         FEDERAL PUBLIC DEFENDER
                                                                                       1331 Broadway, Ste. 400
     ORDER GRANTING STIPULATED MOTION                                              Tacoma, Washington 98402
     TO CONTINUE TRIAL DATE                          1                                         (253) 593-6710
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 1 within the time limits established by the Speedy Trial Act and currently set for this case.

 2 18 U.S.C. § 3161(h)(8)(B(ii).

 3         4. Taking into account the exercise of due diligence, a continuance is necessary
 4 to allow the defendant the reasonable time for effective preparation his defense. 18

 5 U.S.C. § 3161(h)(8)(B)(iv).

 6         NOW, THEREFORE,
 7         IT IS HEREBY ORDERED that the trial date is continued from October 23, 2006
 8 to January 29, 2007, at 9:00 a.m. The resulting period of delay from October 23, 2006,

 9 up to and including the new trial date of January 29, 2007, is hereby excluded for speedy

10 trial purposes under 18 U.S.C. § 3161(h)(8)(A) and (B).

11         Pre-trial motions are due no later than November 13, 2006.
12         The Pretrial Conference shall be on January 18, 2007, at 2:00 p.m.
13         DONE this 17th day of October, 2006.
14

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18
                                              JUDGE FRANKLIN D. BURGESS
19                                            UNITED STATES DISTRICT JUDGE
20
     Presented By:
21

22 /s/                                                  /s/
     Jeffrey P. Robinson and                            Mike Dion
23 Amanda Lee                                           Assistant United States Attorney
     Attorneys for Alex M. Blum
24

25
     /s/______________________________
26 Colin Fieman
     Attorney for Chad W. Palmer
                                                                         FEDERAL PUBLIC DEFENDER
                                                                                       1331 Broadway, Ste. 400
     ORDER GRANTING STIPULATED MOTION                                              Tacoma, Washington 98402
     TO CONTINUE TRIAL DATE                         2                                          (253) 593-6710
